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                                                                    United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                                                                     September 24, 2021
                       UNITED STATES DISTRICT COURT
                                                                        Nathan Ochsner, Clerk
                        SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION

UNITED STATES OF AMERICA,              §
                                       §
VS.                                    § CIVIL ACTION NO. 7:20-CV-302
                                       §
14.421 ACRES OF LAND, MORE OR          §
LESS, SITUATE IN STARR COUNTY,         §
STATE OF TEXAS, et al,                 §

        Defendants.




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      Case 7:20-cv-00302 Document 28 Filed on 09/24/21 in TXSD Page 2 of 2




       SO ORDERED this 24th day of September, 2021, at McAllen, Texas.


                                         ___________________________________
                                         Randy Crane
                                         United States District Judge



2/2
      Kathy Nguyen
       9/24/2021
